  Case 6:16-cv-01376-TJM-TWD Document 46 Filed 03/21/18 Page 1 of 3



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_________________________________________
                                                    )
DAVID PASIAK,                                       )
                              Plaintiff             )       Civil Case No.
              v.                                    )       6:16-CV-01376-YJM-TWD
                                                    )
ONONDAGA COMMUNITY COLLEGE,                         )
KATHLEEN CRABILL and DAVID MURPHY                   )       AFFIDAVIT OF
                     Defendants.                    )       KATHLEEN CRABILL
                                                    )       IN OPPOSITION TO
                                                    )       INTERVENTION


KATHLEEN CRABILL, Defendant and President of Defendant Onondaga Community

College, declares as follows under penalty of perjury pursuant to 28 U.S.C. § 1746(2):


   1. I am a defendant in this case both personally and as President of Defendant

       Onondaga Community College.

   2. I make this Affidavit in opposition to the motion by Intervenor Advance Media

       New York.

   3. As President of Onondaga Community College I have the legal responsibility to

       oversee the operations of the College including the authority to make decisions

       regarding litigation against the College.

   4. As such, my authority is subject to New York State Law and Regulations that

       includes oversight by a Board of Trustees of appointed officials.

   5. In the instant case, I have been in close contact with our attorneys and made the

       strategic decisions regarding the conduct and settlement of the case.




                                             1
Case 6:16-cv-01376-TJM-TWD Document 46 Filed 03/21/18 Page 2 of 3



6. I am constrained in my words in this Affidavit because of our contractual

   obligation of confidentiality, although I can provide the details to follow, much of

   which is in the Court record.

7. A settlement in principle was reached among the parties during a conference with

   Magistrate Therese Wiley Dancks on September 28, 2017. However, committing

   that to writing was not a simple process and not completed until all parties had

   signed. I signed on December 12, 2017.

8. From the beginning and throughout the settlement negotiations confidentiality

   was and is an integral part of the agreement for all parties. Contrary to the

   allegations, assumptions and speculation in the press, and allegations in the court

   papers of Advance Media, confidentiality was assumed from the beginning by all

   parties.

9. The Confidentiality Stipulation and Order was signed by the Magistrate on

   December 11, 2017, before the Agreement was finalized.

10. No College policy regarding discrimination has been changed or contemplated to

   be changed related to this matter.

11. Statements that I have acted irresponsibly or without due regard for the best

   interests of the College, its students and the taxpayers are unfounded and deeply

   offensive to me both personally and professionally.

12. I declare that the above statement is true and correct under penalty of perjury

   pursuant to 28 U.S.C. § 1746(2). Executed on March 19, 2018.

                                   s/Kathleen Crabill__________
                                   Defendant and President
                                   Onondaga Community College




                                         2
Case 6:16-cv-01376-TJM-TWD Document 46 Filed 03/21/18 Page 3 of 3




                                3
